      Case 2:20-cv-02054-KJD-DJA Document 3 Filed 11/09/20 Page 1 of 2




 1

 2

 3                                UNITED STATES DISTRICT COURT
 4                                        DISTRICT OF NEVADA
 5                                                   ***
 6    CLIFTON B. SAULSBERRY, JR.,                           Case No. 2:20-cv-02054-KJD-DJA
 7                           Plaintiff,
                                                            ORDER
 8          v.
 9    UNITED PARCEL SERVICE,
10                           Defendant.
11

12          This matter is before the Court on Plaintiff’s Motion/Application to Proceed In Forma

13   Pauperis (#1), filed on November 6, 2020.

14          Plaintiff has requested authority pursuant to 28 U.S.C. § 1915 to proceed in forma

15   pauperis and submitted a complaint along with the application. The Court finds that Plaintiff’s

16   application is incomplete. In response to question two, Plaintiff indicates that his ex-employer is

17   UPS, but then provides conflicting information that he is currently earning $600.00 in gross pay.

18   In response to question three, Plaintiff indicates that he receives disability or worker’s

19   compensation payments, but does not provide the amount of that income. As a result, the Court

20   cannot determine whether Plaintiff is eligible to proceed in forma pauperis. Plaintiff’s

21   Motion/Application shall be denied without prejudice and he will be given another opportunity to

22   submit a second, completed application along with a complaint. Indeed, Plaintiff must provide a

23   completed complaint when re-submitting his new application.

24          Further, having concluded that Plaintiff is not entitled at this time to proceed in forma

25   pauperis, the Court need not screen the complaint under 28 U.S.C. § 1915(e)(2)(B), which

26   requires the dismissal of the case at any time if the Court determines that it is frivolous or

27   malicious or fails to state a claim upon which relief can be granted or seeks monetary relief

28   against a defendant who is immune from such relief. Nevertheless, the Court notes one
      Case 2:20-cv-02054-KJD-DJA Document 3 Filed 11/09/20 Page 2 of 2




 1   deficiency in his complaint – the EEOC Notice of Right to Sue was issued on August 26, 2020,

 2   which provided him with 60 days to file suit. This action was commenced on November 6, 2020

 3   past that 60 day window, which expired on October 26, 2020. As a result, Plaintiff must explain

 4   why his claims would be timely and specifically explain and describe each claim he wishes to

 5   assert.

 6             Based on the foregoing and good cause appearing therefore,

 7             IT IS ORDERED that Plaintiff’s Motion/Application to Proceed In Forma Pauperis (#1) is

 8   denied without prejudice as incomplete.

 9             IT IS FURTHER ORDERED that Plaintiff shall have until December 9, 2020 to file a

10   new, completed Second Application to Proceed In Forma Pauperis along with a complaint. In the

11   alternative, Plaintiff may make the necessary arrangements to pay the filing fee of three hundred

12   fifty dollars ($350) and administrative fee of fifty dollars ($50), for a total of four hundred dollars

13   ($400), accompanied by a copy of this Order. Failure to comply with this Order will result in a

14   recommendation to the District Judge that this action be dismissed.

15             DATED: November 9, 2020

16
                                                            DANIEL J. ALBREGTS
17                                                          UNITED STATES MAGISTRATE JUDGE
18

19
20

21

22

23

24

25

26

27

28


                                                  Page 2 of 2
